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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF VIRGINIA
                             CHARLOTTESVILLE DIVISION

  BABY DOE, et al.,                           )
       Plaintiffs                             )
                                              )
  v.                                          )       Civil Action No. 3:22-cv-00049
                                              )
  JOSHUA MAST, et al.,                        )
       Defendants.                            )

                               MOTION TO QUASH SUBPOENA

         NOW COMES Caleb Mast, by counsel, and moves to quash as to him the March 17,

  2023, Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of

  Premises in a Civil Action served on Liberty University (hereinafter, the “Subpoena”).

         For the reasons set forth in the Memorandum in Support of Motion to Quash, the

  Subpoena should be quashed as to Caleb Mast and LU should be ordered not to produce any

  thing from the email account of Caleb Mast because:

         1. The disclosure would create a risk of harm to a non-party to this action;

         2. The disclosure of the communications would violate Caleb and another’s First

             Amendment right to freedom of association, and

         3. The disclosure of the communications would violate Caleb and another’s rights under

             the Religious Freedom Restoration Act.

                                                      Respectfully submitted,
                                                      CALEB MAST

                                                      /s/ Melvin E. Williams
                                                      Of Counsel
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                                                                                  Mast Mot to Quash
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         Counsel for Caleb Mast

                                 CERTIFICATE OF SERVICE

         On this 28th day of March 2023, the foregoing Notice of Appearance was filed with the

  Clerk of Court using the CM/ECF system, which will send a notification of such filing to counsel

  of record.

                                                     /s/ Melvin E. Williams
                                                     Of Counsel
